Case 2:17-cr-00053-JAM Document 152 Filed 03/15/19 Page 1 of 7
Case 2:17-cr-00053-JAM Document 152 Filed 03/15/19 Page 2 of 7
Case 2:17-cr-00053-JAM Document 152 Filed 03/15/19 Page 3 of 7
Case 2:17-cr-00053-JAM Document 152 Filed 03/15/19 Page 4 of 7
Case 2:17-cr-00053-JAM Document 152 Filed 03/15/19 Page 5 of 7
Case 2:17-cr-00053-JAM Document 152 Filed 03/15/19 Page 6 of 7
Case 2:17-cr-00053-JAM Document 152 Filed 03/15/19 Page 7 of 7
